              Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 1 of 39 Page ID
                                               #:3518


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               14
                                     IN THE UNITED STATES DISTRICT COURT
               15
                                        CENTRAL DISTRICT OF CALIFORNIA
               16
               17 JOHN BURNELL, JACK POLLOCK,                Case. No. EDCV 12-00692 VAP OPx;
                    and all others similarly situated,
               18                                            Related Case: 5:10-CV-00809-VAP
                                 Plaintiffs,                 (OPx)
               19                                            Hon. Virginia A. Phillips)
                           v.
               20
                  SWIFT TRANSPORTATION CO. OF                DECLARATION OF GREGORY
               21 ARIZONA, LLC,                              MAURO IN SUPPORT OF
                                                             PLAINTIFFS’ REPLY TO
               22
                                 Defendant.                  LAWRENCE PECK’S OBJECTION
               23                                            TO PLAINTIFFS’ MOTION FOR
                                                             PRELIMINARY APPROVAL OF
               24
                                                             CLASS ACTION SETTLEMENT
               25
               26                                            Date:      July 8, 2019
                                                             Time:      02:00 p.m.
               27
aint Filed:                                                  Room:      8A – First Street
               28

                    Declaration of Gregory Mauro ISO Reply
                                                                                  CV12-00692-VAP-OP
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 2 of 39 Page ID
                                 #:3519



  1                     DECLARATION OF GREGORY MAURO
  2 I, Gregory Mauro, declare as follows:
  3         1.    I am an individual over the age of 18. I am a partner and one of the
  4 attorneys of record for Plaintiffs (“Plaintiffs” or “Class Representatives”), who
  5 filed this class action on behalf of the Class. I submit this Declaration in support of
  6 Plaintiff’s Reply to Lawrence Peck’s Objection to Plaintiffs’ Motion for
  7 Preliminary Approval of Class Action Settlement. I have personal knowledge of
  8 the facts set forth below, and if called to testify regarding them, I could and would
  9 do so competently.
 10         2.    On September 11, 2009, Plaintiff Burnell submitted the requisite
 11 notice to the LWDA via certified mail to the LWDA and Swift, outlining the
 12 specific predicate Labor Code violations plus the facts and theories to support each
 13 violation (LWDA Case No. LWDA-CM-281439-17).
 14         3.    Thereafter, on October 8, 2010, an amended letter was sent to both the
 15 LWDA and Swift, on behalf of Jack Pollock which references the September 11,
 16 2009 LWDA letter for Plaintiff Burnell and reasserts the alleged the specific
 17 predicate Labor Code violations, specifically including §2802, and the facts and
 18 theories to support each violation referenced. Attached herein as Exhibit 1 is a true
 19 and correct copy of Plaintiff Jack Pollock’s October 8, 2010 LWDA letter.
 20         4.    Finally, on January 8, 2012 Plaintiff James Rudsell submitted his own
 21 PAGA Notice letter, and said letter similarly included the claims at issue in this
 22 case. Attached herein as Exhibit 2 is a true and correct copy of Plaintiff James
 23 Rudsell’s January 8, 2012 LWDA letter.
 24         5.     Defendants are currently in the process of devising a separate
 25 settlement in another case, specifically for all hourly drivers.
 26         6.    On June 5, 2019, Plaintiffs submitted Notice of the Settlement to the
 27 LWDA.
 28 ///

                                                2

      Declaration of Gregory Mauro ISO Reply
                                                                         CV12-00692-VAP-OP
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 3 of 39 Page ID
                                 #:3520



  1            I declare under penalty of perjury under the laws of the United States that
  2 the foregoing is true and correct. Executed on this 24th day of June, 2019 at Irvine,
  3 California.
  4
                                            /s/ Gregory Mauro
  5                                         Gregory Mauro, Esq.
  6
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      Declaration of Gregory Mauro ISO Reply
                                                                         CV12-00692-VAP-OP
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 4 of 39 Page ID
                                 #:3521




               EXHIBIT 1
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 5 of 39 Page ID
                                 #:3522
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 6 of 39 Page ID
                                 #:3523
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 7 of 39 Page ID
                                 #:3524
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 8 of 39 Page ID
                                 #:3525
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 9 of 39 Page ID
                                 #:3526
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 10 of 39 Page ID
                                  #:3527
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 11 of 39 Page ID
                                  #:3528
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 12 of 39 Page ID
                                  #:3529
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 13 of 39 Page ID
                                  #:3530
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 14 of 39 Page ID
                                  #:3531
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 15 of 39 Page ID
                                  #:3532
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 16 of 39 Page ID
                                  #:3533
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 17 of 39 Page ID
                                  #:3534
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 18 of 39 Page ID
                                  #:3535
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 19 of 39 Page ID
                                  #:3536




               EXHIBIT 2
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 20 of 39 Page ID
                                  #:3537
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 21 of 39 Page ID
                                  #:3538



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   6
       himself and all others similarly situated
   7
   8
   9                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

  10                            FOR THE COUNTY OF SAN BERNARDINO

  11
       JAMES R. RUDSELL, on behalf of                    CASE NO.
  12   himself and all others similarly situated         ASSIGNED FOR ALL PURPOSES TO:
  13                                                      CLASS ACTION COMPLAINT
              Plaintiffs,
  14
                                                           1) Failure to Pay Minimum Wages
  15   vs.
                                                           2) Failure to Provide Meal Periods or
  16
       SWIFT TRANSPORTATION                                   Compensation in Lieu Thereof
  17   COMPANY OF ARIZONA, LLC, a
       DELAWARE Corporation, and DOES 1                    3) Failure to Provide Rest Periods or
  18   through 50, inclusive,                                 Compensation in Lieu Thereof
  19
              Defendants.
  20                                                       4) Failure to Timely Pay Wages
  21
                                                           5) Failure to Provide Accurate Employee
  22
                                                              Itemized Wage Statements
  23
  24                                                       6) Violations of the California Unfair
                                                              Competition Laws
  25
  26
                                                           JURY TRIAL DEMANDED
  27
  28



                                                   -1-

                                           CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 22 of 39 Page ID
                                  #:3539



   1               Plaintiff, JAMES R. RUDSELL, on behalf of himself and all others similarly situated,
   2   complain of Defendants, and each of them, and for causes of action alleges:
   3                                                       I.
   4                                            INTRODUCTION
   5          1.    This is a Class Action, pursuant to Code of Civil Procedure section 382, on behalf of
   6   Plaintiff and all California non-exempt truck driver employees employed by SWIFT
   7
       TRANSPORTATION COMPANY OF ARIZONA, LLC and any subsidiaries or affiliated
   8
       companies (hereinafter “SWIFT” or "Defendants"), within the State of California.
   9
              2.     For at least four years prior to the filing of this action and through to the present
  10
       ("liability period"), Defendants consistently maintained and enforced against SWIFT Non-
  11
       Exempt Truck Drivers, among others, the following unlawful practices and policies, in violation
  12
       of California state wage and hour laws: a) failing to pay minimum wages; b); failing to provide
  13
       meal and rest periods and c) failing to provide accurate itemized wage statements.
  14
              3.     During the statutory liability period and continuing to the present (rest and meal
  15
       period liability period), Defendants have had a consistent policy of failing to provide SWIFT
  16
       Non-Exempt Truck Drivers within the State of California, and while performing work within
  17
       California, including Plaintiff, rest periods of at least (10) minutes per four (4) hours worked or
  18
       major fraction thereof and failing to pay such employees one (1) hour of pay at the employees
  19
       regular rate of compensation for each workday that the rest period is not provided, as required by
  20
  21   California state wage and hour laws.

  22          4.     During the statutory liability period and continuing to the present (rest and meal

  23   period liability period), Defendants have had a consistent policy of requiring SWIFT Non-

  24   Exempt Truck Drivers within the State of California, while performing work within California,

  25   including Plaintiff, to work at least five (5) hours without a meal period and/or work in excess of

  26   ten hours per day without being provided a second meal period, and failing to pay such

  27   employees a one (1) hour wage at the employees regular rate of compensation for each workday
  28   that the meal period is not provided, as required by California state wage and hour laws.



                                                     -2-

                                            CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 23 of 39 Page ID
                                  #:3540



   1          5.    Plaintiff on behalf of himself and all Class Members brings this action pursuant to
   2   Labor Code sections 201, 202, 204, 218.6, 226, 226.7, 512, 558, 1194, 1197, 2698, et. seq.,
   3   Industrial Wage Order 9, and Cal Code Regs. Title 8, § 11090, seeking unpaid minimum wages,
   4   unpaid rest and meal period compensation, penalties, injunctive and other equitable relief, and
   5
       reasonable attorneys’ fees and costs.
   6
              6.    Plaintiff, on behalf of himself and all Class Members, pursuant to Business and
   7
       Professions Code sections 17200-17208, also seeks injunctive relief and restitution of all benefits
   8
       Defendants enjoyed from their failure to pay all minimum wages and rest and meal period
   9
       premiums.
  10
                                                          II.
  11
                                        JURISDICTION AND VENUE
  12
              7.    This Court has jurisdiction over this action pursuant to the California Constitution
  13
       Article VI §10, which grants the California Superior Court original jurisdiction in all causes
  14
       except those given by statute to other courts. The statutes under which this action is brought do
  15
       not give jurisdiction to any other court. Venue as to each Defendant is proper in this judicial
  16
       district pursuant to Code of Civil Procedure section 395. On information and belief, Defendants
  17
       operate SWIFT TRANSPORTATION COMPANY OF ARIZONA, LLC ( hereinafter SWIFT), a
  18
  19   Delaware Corporation, doing business in the City of Fontana, County of San Bernardino and

  20   each Defendant is within the jurisdiction of this Court for service of process purposes.

  21          8.    The unlawful acts alleged herein have a direct effect on Plaintiff and those similarly

  22   situated within the State of California and within San Bernardino County. On information and

  23   belief, Defendants employ numerous Class Members throughout California. All of the claims

  24   Plaintiff asserts for himself and for the Class he seeks to represent relate exclusively to hours of

  25   work performed solely within the State of California. None of the claims Plaintiff asserts for
  26   himself or for the Class he seeks to represent relate to hours of work performed outside of the
  27   State of California.
  28          9.    This Court has jurisdiction over Defendants because, upon information and belief,



                                                    -3-

                                           CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 24 of 39 Page ID
                                  #:3541



   1   each Defendant is either a resident of California, has sufficient minimum contacts in California,
   2   or otherwise intentionally avails itself of the California market so as to render the exercise of
   3   jurisdiction over it by the California Courts consistent with traditional notions of fair play and
   4   substantial justice.
   5
                                                        III.
   6
                                                  PARTIES
   7
               10.     Plaintiff JAMES R. RUDSELL is a resident of Hesperia, California. At all
   8
       relevant times herein, he has been employed by Defendants as a driver of SWIFT in the City of
   9
       Fontana, County of San Bernardino, California and has been employed by SWIFT since
  10
       approximately June 13, 2011, in a non-exempt capacity during the liability periods.
  11
               11.    On information and belief, SWIFT TRANSPORTATION COMPANY OF
  12
       ARIZONA, LLC, engaged in the ownership and operation of a trucking and logistics company in
  13
       San Bernardino County and throughout California. Plaintiff is informed and believes, and
  14
       thereon alleges, that at all relevant times mentioned herein, Defendants are organized and
  15
       existing under the laws of California, and were at all times mentioned herein licensed and
  16
       qualified to do business in California. On information and belief, Plaintiff alleges that at all
  17
       relevant times referenced herein Defendants did and continue to transact business throughout
  18
  19   California.

  20           12.    Whenever in this complaint reference is made to any act, deed, or conduct of

  21   Defendants, the allegation means that Defendants engaged in the act, deed, or conduct by or

  22   through one or more of its officers, directors, agents, employees, or representatives, who was

  23   actively engaged in the management, direction, control, or transaction of the ordinary business

  24   and affairs of Defendants.

  25           13.    The true names and capacities of Defendants, whether individual, corporate,
  26   associate, or otherwise, sued herein as DOES 1 through 50, inclusive, are currently unknown to
  27   Plaintiff, who therefore sues Defendants by such fictitious names. Plaintiff is informed and
  28   believes, and based thereon alleges that each of the Defendants designated herein as a DOE is



                                                  -4-

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 25 of 39 Page ID
                                  #:3542



   1   legally responsible in some manner for the unlawful acts referred to herein. Plaintiff will seek
   2   leave of court to amend this Complaint to reflect the true names and capacities of the Defendants
   3   designated hereinafter as DOES when such identities become known.
   4          14.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
   5
       acted in all respects pertinent to this action as the agent of the other Defendants, carried out a
   6
       joint scheme, business plan or policy in all respects pertinent hereto, and the acts of
   7
       each Defendant are legally attributable to the other Defendants.
   8
                                                           III.
   9
                                           FACTUAL BACKGROUND
  10
              15.        Defendants operate and, at all times during the liability period, have conducted
  11
       business in the City of Fontana, County of San Bernardino and elsewhere within California as a
  12
       trucking and logistics business. At all times set forth herein, Defendants employed Plaintiff and
  13
       other persons in the capacity of truck drivers or equivalent positions with similar job duties,
  14
       however titled, throughout the state of California.
  15
              16.     Defendants employed Plaintiff as a truck driver between June 13, 2011 to the
  16
       present. In that capacity, Plaintiff’s duties included driving to client locations making pick-ups
  17
       and deliveries.
  18
  19          17.        Defendants continue to employ truck drivers, or individuals in equivalent

  20   positions with similar job duties, however titled, throughout the state of California.

  21          18.        Plaintiff is informed and believes, and thereon alleges, that Defendants are and

  22   were advised by skilled lawyers and other professionals, employees, and advisors with

  23   knowledge of the requirements of California’s wage and employment laws.

  24          19.        During the relevant time frame, Defendants compensated Plaintiff and Class

  25   Members based solely on piece rate (cents per mile) that did not always equate to minimum
  26   wage for all hours worked.
  27          20.        During the relevant time period, Plaintiff and Class Members were required to
  28   attend three days of orientation all without payment of minimum wages as required under



                                                     -5-

                                             CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 26 of 39 Page ID
                                  #:3543



   1   California law.
   2          21.     During the relevant time period, Plaintiff and Class Members were regularly
   3   required to work without being minimum wage waiting for loads and unloads, all without
   4   payment of minimum wage, as required by California law.
   5
              22.     During the relevant time frame, wages earned were paid weekly, but not within
   6
       seven (7) days of the pay period end date.
   7
              23.     During the relevant time frame, Plaintiff and Class Members were systematically
   8
       denied meal periods and rest breaks due to the demands of Defendants and Defendants’ clients.
   9
       Nevertheless, Defendants never paid Plaintiff, and on information and belief, never paid Class
  10
       Members an extra hour of pay as required by California law where meal periods and rest breaks
  11
       were not provided. Defendants failed to track hours worked or meal period start/end times in
  12
       violation of the applicable wage order.
  13
              24.     Plaintiff is informed and believes, and thereon alleges, that Defendants know,
  14
       should know, knew, and/or should have known that Plaintiff and the other Class Members were
  15
       entitled to receive minimum wages for all worked and premium wages under Labor Code §226.7
  16
       but were not receiving such compensation.
  17
              25.     Plaintiff is informed and believes, and thereon alleges, that at all times herein
  18
  19   mentioned, Defendants knew that they had a duty to compensate Plaintiff and Class Members

  20   minimum wages, and that Defendants had the financial ability to pay such compensation, but

  21   willfully, knowingly, recklessly, and/or intentionally failed to do so, and falsely represented to

  22   Plaintiff and Class Members that they were properly denied wages, all in order to increase

  23   Defendants’ profits.

  24                                                      IV.

  25                                    CLASS ACTION ALLEGATIONS
  26          26.     Plaintiff brings this action on behalf of himself and all others similarly situated as
  27   a class action and thus, seeks class certification under California Code of Civil Procedure §382.
  28          27.     Plaintiff seeks to represent a Class composed of and defined as follows:



                                                    -6-

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 27 of 39 Page ID
                                  #:3544



   1
   2                  (a) All of Defendant’s California based drivers who are employed or have
                      been employed by Defendants in the State of California during the
   3                  relevant time period who have performed work within California within
                      four (4) years prior to the filing of the complaint in this action until
   4                  resolution of this lawsuit (hereinafter collectively referred to as the
   5                  “Class” or “Class Members”).

   6
              28.     Plaintiff also seeks to represent Subclasses composed of and defined as follows:
   7
                      (a) All of Defendant’s California based drivers who are employed
   8                  or have been employed by Defendants in the State of California
   9                  during the relevant time period who, have not been minimum wage
                      for all hours worked within California during the liability period.
  10
                      (b) All of Defendant’s California based drivers who are employed
  11                  or have been employed by Defendants in the State of California
  12                  during the relevant time period who, while performing work within
                      California, have not been provided a rest period for every four
  13                  hours or major fraction thereof worked per day and were not
                      provided a premium wage in lieu thereof.
  14
  15                  (c) All of Defendant’s California based drivers who are employed
                      or have been employed by Defendants in the State of California
  16                  during the relevant time period who, while performing work within
                      California, have not been provided a meal period for every five
  17                  and/or ten hours worked per day and were not provided a premium
  18                  wage in lieu thereof.

  19                  (d) All of Defendant’s California based drivers who are employed
                      or have been employed by Defendants in the State of California
  20                  during the relevant time period who were not timely paid wages in
  21                  accordance with the timing requirements of Labor Code §204.

  22
              29.    Plaintiff reserves the right to amend or modify the class description with greater
  23
       specificity or further division into subclasses or limitation to particular issues.
  24          30.    This action has been brought and may properly be maintained as a class action
  25   under the provisions of section 382 of the Code of Civil Procedure because there are questions of
  26   law or fact common to class members that predominate over any questions affecting only
  27   individual members, and that a class action is superior to other available methods.
  28



                                                     -7-

                                            CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 28 of 39 Page ID
                                  #:3545



   1          A. Numerosity
   2          31.    The potential members of the Class as defined are so numerous that
   3   joinder of all the members of the Class is impracticable. While the precise number of Class
   4   Members has not been determined at this time, Plaintiff is informed and believes that Defendants
   5   currently employ, and during the relevant time periods employed, as many as several hundred
   6   employees, many within the State of California, in positions as SWIFT Non-Exempt drivers in
   7   San Bernardino County and disbursed throughout California during the liability period and who
   8   are or have been affected by Defendants' unlawful practices as alleged herein.
   9          32.    Accounting for employee turnover during the relevant periods necessarily
  10   increases this number substantially. Upon information and belief, Plaintiff alleges Defendants'
  11   employment records would provide information as to the number and location of all Class
  12   Members. Joinder of all members of the proposed Class is not practicable.
  13          B. Commonality
  14          33.    There are questions of law and fact common to the Class and Subclasses
  15   predominating over any questions affecting only individual Class Members. These common
  16   questions of law and fact include, without limitation:
  17         i.       Whether Defendants failed to pay minimum wage compensation to Plaintiff and
  18          Class Members for all hours worked;
  19        ii.       Whether Defendants violated Labor Code sections 226.7, 512, Wage Order 9-
  20          2001, or other applicable IWC Wage Orders, and Cal. Code Regs. Title 8, § 11090, by
  21          failing to provide daily rest periods to Non-Exempt drivers for every four hours or major

  22          fraction thereof worked and failing to compensate said employees one hours wages in

  23          lieu of rest periods;

  24       iii.       Whether Defendants violated Labor Code sections 226.7, 512 and IWC Wage

  25          Order 9-2001 or other applicable IWC Wage Orders, and Cal Code Regs. Title 8,

  26          § 11090 by failing to provide a meal period to Non-Exempt truck drivers on days they

  27          worked work periods in excess of five hours and failing to compensate said employees

  28          one hour wages in lieu of meal periods;



                                                   -8-

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 29 of 39 Page ID
                                  #:3546



   1        iv.         Whether Defendants violated sections 204 of the Labor Code by failing to pay
   2             wages in accordance with the timing requirements.
   3        v.          Whether Defendants violated section 17200 et seq. of the Business and
   4             Professions Code by failing to pay minimum wages, failing to provide rest and meal
   5             periods without compensating non-exempt employees one hour pay for every day such
   6             periods were not provided;
   7        vi.         Whether Defendants violated Business and Professions Code and Labor
   8             Code sections 201, 202, 204, 218.6, 226, 226.7, 512, 558, 1194, 1197, 2698, et. seq.,
   9             and applicable IWC Wage Orders which violation constitutes a violation of fundamental
  10             public policy;
  11       vii.         Whether Plaintiff and the Members of the Plaintiff Class are entitled to equitable
  12             relief pursuant to Business and Professions Code section 17200, et. seq.;
  13      viii.         Whether Plaintiff and the Members of the Plaintiff Class are entitled to relief in
  14             the form of back wages, penalties and interest for failure to pay minimum wages pursuant
  15             to Labor Code sections 1194 and 1197;
  16        ix.         Whether Plaintiff and Members of the Plaintiff Class are entitled to penalties
  17             pursuant to Labor Code section 226 et. seq. for failing to provide accurate itemized wage
  18             statements; and
  19        x.          Whether Plaintiff and the Members of the Plaintiff Class are entitled to relief
  20             pursuant to Labor Code §2698, et. seq. in the form of penalties for failure to pay
  21             minimum wages, provide meal and rest periods, pay wages due and owing upon

  22             separation and providing accurate itemized wage statements.

  23     C. Typicality

  24          34.      The claims of the named Plaintiff are typical of the claims of the Class. Plaintiff

  25   and all members of the Class sustained injuries and damages arising out of and caused by

  26   Defendants' common course of conduct in violation of California laws, regulations, and statutes

  27   as alleged herein.

  28



                                                     -9-

                                              CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 30 of 39 Page ID
                                  #:3547



   1      D. Adequacy of Representation
   2          35.    Plaintiff will fairly and adequately represent and protect the interests
   3   of the members of the Class. Counsel who represents Plaintiff is competent and experienced in
   4   litigating large employment class actions.
   5     E. Superiority of Class Action
   6          36.   A class action is superior to other available means for the fair and efficient
   7   adjudication of this controversy. Individual joinder of all Class Members is not practicable, and
   8   questions of law and fact common to the Class predominate over any questions affecting only
   9   individual members of the Class. Each member of the Class has been damaged and is entitled to
  10   recovery by reason of Defendants' unlawful policy and/or practice of failing to compensate Class
  11   Members for all wages earned, engaging in the unlawful practices herein complained of,
  12   and denying Class Members rest and meal periods without legal compensation.
  13          37.    Class action treatment will allow those similarly situated persons to litigate their
  14   claims in the manner that is most efficient and economical for the parties and the judicial system.
  15   Plaintiff is unaware of any difficulties that are likely to be encountered in the management of this
  16   action that would preclude its maintenance as a class action.
  17                                                   V.
  18                                      CAUSES OF ACTION
  19                                       First Cause of Action
  20                                   Failure to Pay Minimum Wage
  21                            (Lab. Code, §§ 1194, 1197, IWC Wage Order 9)

  22                                        (Against All Defendants)

  23          38.     Plaintiff incorporates paragraphs 1 through 37 as though fully set forth herein.

  24          39.     On information and belief and based on that information and belief,

  25   Defendant compensated its non-exempt employees on a piece rate basis, i.e. per mile.

  26          40.     On information and belief, Defendants failed to pay its non-exempt

  27   employees minimum wage for hours worked when it required Plaintiff and Members

  28   of the Class, under the control of Defendants, to wait for the loading and unloading of cargo



                                                    - 10 -

                                           CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 31 of 39 Page ID
                                  #:3548



   1   or goods from or into their trucks, otherwise known as detention time.
   2          41.      On information and belief, Defendants required Plaintiff and Members of the
   3   Class to attend mandatory orientation without pay of minimum wage.
   4          42.      On information and belief, this controlled time was not compensated time.
   5          43.      On information and belief, Defendants willfully violated the provisions of the
   6   Labor Code, among others, §§1194, 1197 and IWC Wage Order 9.
   7          44.      As a result of the unlawful acts of Defendants, Plaintiff and the Class he
   8   seeks to represent have been deprived of minimum wages in amounts to be determined at trial,
   9   and are entitled to recovery of such amounts, plus interest and statutory penalties
  10   thereon, attorneys' fees, and costs, pursuant to Labor Code sections 558, 1194, 1197 and IWC
  11   Wage Order 9.
  12          45.    WHEREFORE, Plaintiff and the Class he seeks to represent request relief as
  13   described herein and below.
  14                                        Second Cause of Action
  15                                   Failure to Provide Meal Periods or
  16                                      Compensation in Lieu Thereof
  17                             (Lab. Code, §§226.7, 512, IWC Wage Order 9)
  18                                        (Against all Defendants)
  19          46.      Plaintiff incorporates paragraphs 1 through 45 as though fully set forth herein.
  20          47.      Pursuant to Labor Code §512, no employer shall employ an employee for a work
  21   period of more than five (5) hours without providing a meal break of not less than thirty (30)
  22   minutes in which the employee is relieved of all of his or her duties. An employer may not
  23   employ an employee for a work period of more than ten (10) hours per day without providing the
  24   employee with a second meal period of not less than thirty (30) minutes, except that if the total
  25   hours worked is no more than twelve (12) hours, the second meal period may be waived by
  26
       mutual consent of the employer and the employee only if the first meal period was not waived.
  27
              48.      Pursuant to the IWC wage orders applicable to Plaintiff’s and Class Members’
  28



                                                   - 11 -

                                           CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 32 of 39 Page ID
                                  #:3549



   1   employment by Defendants, in order for an “on duty” meal period to be permissible, the
   2   nature of the work of the employee must prevent an employee from being relieved of all duties
   3   relating to his or her work for the employer and the employees must consent in writing to the “on
   4   duty” meal period. Plaintiff and Class Members did not consent in writing to an “on duty” meal
   5
       period. Further, the nature of the work of Plaintiff and Class Members was not such that
   6
       Plaintiff and Class Members are prevented from being relieved of all duties. Despite said
   7
       requirements of the IWC wage orders applicable to Plaintiff’s and Class Members’ employment
   8
       by Defendants and Labor Code §512 and §226.7, Plaintiff and Class Members were not provided
   9
       with meal periods and were not relieved of all duties during any meal periods Plaintiff and Class
  10
       Members did take.
  11
              49.     For the four (4) years preceding the filing of this lawsuit, Defendants failed to
  12
       provide Plaintiff and Class Members, in their roles as Non-Exempt drivers, or equivalent
  13
       positions with similar job duties, however titled, first and sometimes second meal breaks of not
  14
       less than thirty (30) minutes pursuant to the IWC wage orders applicable to Plaintiff’s and Class
  15
       Members’ employment by Defendants. In addition, Defendants failed to record meal periods for
  16
       Plaintiff and Class Members in accordance with the applicable IWC wage order. As a proximate
  17
       result of the aforementioned violations, Plaintiff and Class Members have been damaged in an
  18
  19   amount according to proof at time of trial.

  20          50.     Pursuant to Labor Code §226.7, Plaintiff and Class Members are entitled to

  21   recover one (1) hour of premium pay for each day in which a meal period was not provided.

  22                                        Third Cause of Action

  23                                  Failure to Provide Rest Periods or

  24                                     Compensation in Lieu Thereof

  25                            (Lab. Code, §§226.7, 512, IWC Wage Order 9)

  26                                        (Against all Defendants)

  27          51.     Plaintiff incorporates paragraphs 1 through 50 as though fully set forth herein.

  28          52.     Pursuant to the IWC wage orders applicable to Plaintiff’s and Class Members’



                                                     - 12 -

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 33 of 39 Page ID
                                  #:3550



   1   employment by Defendants, “Every employer shall authorize and permit all employees to take
   2   rest periods, which insofar as practicable shall be in the middle of each work period…. [The]
   3   authorized rest period time shall be based on the total hours worked daily at the rate of ten (10)
   4   minutes net rest time per four (4) hours worked or major fraction thereof.… Authorized rest
   5
       period time shall be counted as hours worked, for which there shall be no deduction from
   6
       wages.” Labor Code §226.7(a) prohibits an employer from requiring any employee to work
   7
       during any rest period mandated by an applicable order of the IWC. Defendants were required to
   8
       authorize and permit employees such as Plaintiff and Class Members to take rest periods, based
   9
       upon the total hours worked at a rate of ten (10) minutes net rest per four (4) hours, or major
  10
       fraction thereof, with no deduction from wages. Despite said requirements of the IWC wage
  11
       orders applicable to Plaintiff’s and Class Members’ employment by Defendants, Defendants
  12
       failed and refused to authorize and permit Plaintiff and Class Members, in their roles as Non-
  13
       Exempt Drivers, or equivalent positions with similar job duties, however titled, to take ten (10)
  14
       minute rest periods for every four (4) hours worked, or major fraction thereof.
  15
              53.     For the four (4) years preceding the filing of this lawsuit, Defendants failed to
  16
       provide Plaintiff and Class Members the required rest periods pursuant to the IWC wage orders
  17
       applicable to Plaintiff’s and Class Members’ employment by Defendants and Labor Code
  18
  19   §226.7. As a proximate result of the aforementioned violations, Plaintiff and Class Members

  20   have been damaged in an amount according to proof at time of trial.

  21          54.     Pursuant to Labor Code §226.7, Plaintiff and Class Members are entitled to

  22   recover one (1) hour of premium pay for each day in which a rest period was not provided.

  23   //

  24   //

  25   //
  26   //
  27   //
  28



                                                  - 13 -

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 34 of 39 Page ID
                                  #:3551



   1                                       Fourth Cause of Action
   2                 Knowing and Intentional Failure to Comply With Itemized Employee
   3                                      Wage Statement Provisions
   4                                  (Lab. Code §§226(b), 1174, 1175)
   5
                                           (Against All Defendants)
   6
              55.     Plaintiff incorporates paragraphs 1 through 54 as though fully set forth herein.
   7
              56.     Section 226(a) of the California Labor Code requires Defendants to itemize in
   8
       wage statements all deductions from payment of wages and to accurately report total hours
   9
       worked by Plaintiff and the members of the proposed class. On information and belief,
  10
       Defendants have knowingly and intentionally failed to comply with Labor Code section 226(a)
  11
       on each and every wage statement that should have been provided to Plaintiff and members of
  12
       the proposed class.
  13
              57.   IWC Wage Order 9 requires Defendant to maintain time records showing, among
  14
       others, when the employee begins and ends each work period, meal periods, split shift intervals
  15
       and total daily hours worked in an itemized wage statements, and must show all deductions and
  16
       reimbursements from payment of wages, and accurately report total hours worked by Plaintiff
  17
       and the members of the proposed class. On information and belief, Defendants have failed to
  18
  19   record all or some of the items delineated in Wage Order 9 and 226.

  20          58.   Pursuant Labor Code §226, Plaintiff and Class Members are entitled up to a

  21   maximum of $4,000.00 each for record-keeping violations.

  22          59.   WHEREFORE, Plaintiff and the Class he seeks to represent request relief as

  23   described herein below.

  24                                        Fifth Cause of Action

  25                                        Waiting Time Subclass
  26                                 (Bus. & Prof. Code, § 201-202, 204)
  27                                       (Against All Defendants)
  28          60.     Plaintiff incorporates paragraphs 1 through 59 as though fully set forth herein.



                                                  - 14 -

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 35 of 39 Page ID
                                  #:3552



   1          61.     California Labor Code §204 requires that wages earned be paid within certain
   2   timeframes, including:
   3
              Labor performed between the 1st and 15th days, inclusive, of any calendar month
   4          shall be paid for between the 16th and the 26th day of the month during which
              the labor was performed, and labor performed between the 16th and the last day,
   5          inclusive, of any calendar month, shall be paid for between the 1st and 10th day
   6          of the following month. ….(d) The requirements of this section shall be deemed
              satisfied by the payment of wages for weekly, biweekly, or semimonthly payroll
   7          if the wages are paid not more than seven calendar days following the close of
              the payroll period.
   8
              62.     During the relevant time frame, Defendants failed to pay Plaintiff and Class
   9
       Members in accordance with the requirements of Labor Code §204 by issuing wage payments
  10
       less frequently than seven days after the pay period end.
  11
              63.     As a result, Defendants are liable to Plaintiff and members of the Waiting Time
  12
       Subclass for waiting time penalties pursuant to Labor Code §2698, et. seq., in an amount
  13
       according to proof at the time of trial.
  14
                                              Sixth Cause of Action
  15
                                       Violation of Unfair Competition Law
  16
                                      (Bus. & Prof. Code, § 17200, et seq.)
  17
                                             (Against All Defendants)
  18
              64.    Plaintiff incorporates paragraphs 1 through 63 as though fully set forth herein.
  19
              65.    On information and belief, by their policy of:
  20
                     i.       failing to provide daily rest periods to Non-Exempt Drivers for
  21
                              every four hours or major fraction thereof worked and failing
  22
                              to compensate said employees one hours wages in lieu of rest periods;
  23
                     ii.      failing to pay minimum wages;
  24
                     iii.     failing to provide a meal period to Non-Exempt Drivers on days they
  25
                              worked work periods in excess of five hours, and/or work in excess of ten
  26
                              hours per day without being provided a second meal period, or
  27
                              compensation in lieu thereof; and
  28



                                                   - 15 -

                                            CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 36 of 39 Page ID
                                  #:3553



   1                   iv.       failing to timely pay wages;
   2   Defendants engaged in unlawful activity prohibited by Business and Professions Code §17200
   3   et seq.
   4             66.    The actions of Defendants as alleged within this Complaint, constitute false,
   5   unlawful, unfair, and deceptive business practices, within the meaning of Business and
   6   Professions Code section 17200, et. seq.
   7             67.    Plaintiff is entitled to an injunction and other equitable relief against such
   8   unlawful practices in order to prevent future damage, for which there is no adequate remedy at
   9   law, and to avoid a multiplicity of lawsuits.
  10             68.      As a result of their unlawful acts, Defendants have reaped and continue to reap
  11   unfair benefits and unlawful profits at the expense of Plaintiff, and the Class Members.
  12   Defendants should be enjoined from this activity. Plaintiff is informed and believes, and thereon
  13   alleges, that Plaintiff and members of the Plaintiff Class are prejudiced by Defendants’ unfair
  14   trade practices.
  15             69.   As a direct and proximate result of the unfair business practices of Defendants,
  16   and each of them, Plaintiff, individually and on behalf of all employees similarly situated, is
  17   entitled to equitable and injunctive relief.
  18             70.    The unlawful conduct alleged herein is continuing, and there is no indication that
  19   Defendants will not continue such activity into the future. Plaintiff alleges that if Defendants are
  20   not enjoined from the conduct set forth in this Complaint, they will continue to require
  21   employees to work during meal periods, will continue to fail to provide rest periods or provide

  22   appropriate compensation in lieu thereof, and will continue to fail to pay and to avoid paying

  23   appropriate taxes, insurance, and unemployment withholdings.

  24             71.      Plaintiff further requests that the court issue a preliminary and permanent

  25   injunction prohibiting Defendants from requiring Plaintiff and the Class he seeks to represent to

  26   reimburse Defendants for the allegations contained herein and which may later be discovered in

  27   the course of litigation.

  28



                                                      - 16 -

                                             CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 37 of 39 Page ID
                                  #:3554



   1          72.     WHEREFORE, Plaintiff and the Class he seeks to represent request relief as
   2   described herein and below.
   3
   4                                       PRAYER FOR RELIEF
   5          WHEREFORE, Plaintiff prays judgment against Defendants, as follows:
   6                                           Class Certification
   7          1.     That this action be certified as a class action;
   8          2.     That Plaintiff be appointed as the representative of the Class;
   9
              3.     That Plaintiff be appointed as the representative of the Subclasses; and
  10
              4.     That counsel for Plaintiff be appointed as counsel for the Class and Subclass.
  11
                                         On the First Cause of Action
  12
              1.     For compensatory damages in an amount equal to the amount of unpaid minimum
  13
       wage compensation owed to Plaintiff and Class Members;
  14
              2.     For pre-judgment interest on any unpaid minimum wage compensation due from
  15
       the day that such amounts were due;
  16
              3.     For liquidated damages in an amount equal to the wages unlawfully unpaid and
  17
       interest thereon pursuant to Labor Code §1194.2;
  18
              4.     For reasonable attorneys’ fees and costs pursuant to Labor Code §1194; and
  19
              5.     For such other and further relief as the Court deems proper.
  20
                                        On the Second Cause of Action
  21
              1.     For one (1) hour of premium pay for each day in which a required meal period
  22
       was not provided; and
  23
  24          2.     For such other and further relief as the Court deems proper.

  25                                     On the Third Cause of Action

  26          1.     For one (1) hour of premium pay for each day in which a required rest period was

  27   not provided; and

  28          2.     For such other and further relief as the Court deems proper.



                                                  - 17 -

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 38 of 39 Page ID
                                  #:3555



   1                                    On the Fourth Cause of Action
   2          1.      For statutory penalties pursuant to Labor Code §201-204; 2698, et. seq.; and
   3          2.      For such other and further relief as the Court deems proper.
   4                                     On the Fifth Cause of Action
   5
              1.      For statutory penalties pursuant to Labor Code §226
   6
              2.      For such other and further relief as the Court deems proper.
   7
                                         On the Sixth Cause of Action
   8
              1.      That Defendants, jointly and/or severally, pay restitution of sums to Plaintiff and
   9
       Class Members for their past failure to pay minimum wages over the last four (4) years in an
  10
       amount according to proof;
  11
              2.      That Defendants, jointly and/or severally, pay restitution and/or disgorgement of
  12
       sums to Plaintiff and Class Members for their past failure to pay premium wages for meal and/or
  13
       rest periods that were not provided to Plaintiff and Class Members over the last four (4) years in
  14
       an amount according to proof;
  15
              3.      For pre-judgment interest on any unpaid overtime wages due from the day that
  16
       such amounts were due;
  17
              4.      For reasonable attorneys’ fees that Plaintiff and Class Members are entitled to
  18
  19   recover under Labor Code §1194;

  20          5.      For costs of suit incurred herein that Plaintiff and Class Members are entitled to

  21   recover under Labor Code §1194; and

  22          6.      For such other and further relief as the Court deems proper.

  23   //

  24   //

  25   //

  26   //

  27   //

  28   //



                                                 - 18 -

                                          CLASS ACTION COMPLAINT
Case 5:10-cv-00809-VAP-OP Document 202-1 Filed 07/31/19 Page 39 of 39 Page ID
                                  #:3556
